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                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO

SETH CHAVEZ,

                 Plaintiff,
v.                                                                            CIV 18-0997 SCY/JHR

CITY OF ALBUQUERQUE,

                 Defendants.

              SECOND AMENDED INITIAL SCHEDULING ORDER
        This case is assigned to me for scheduling, case management, discovery and other non-

dispositive motions. The Federal Rules of Civil Procedure, as amended, as well as the Local Rules

of the Court will apply to this lawsuit.

        The parties, appearing through counsel or pro se, will “meet and confer” no later than

Friday, March 22, 2019, to formulate a provisional discovery plan. FED. R. CIV. P. 26(f). The

time allowed for discovery is generally 120 to 150 days. The parties will cooperate in preparing a

Joint Status Report and Provisional Discovery Plan (“JSR”) which follows the sample JSR

available at the Court’s web site. 1 The blanks for suggested/proposed dates are to be filled in by

the parties. Actual dates will be promulgated by order of the court shortly after entry of the JSR.

Plaintiff, or Defendant in removed cases, is responsible for filing the JSR by Friday, April 5,

2019.

        Good cause must be shown and the Court’s express and written approval obtained for any

modification of the dates in the scheduling order that issue from the JSR.


1
  Pursuant to Administrative Order No. 06-173, the JSR replaces and supersedes the Provisional Discovery Plan and
the Initial Pretrial Report, effective January 2, 2007. Please visit the Court’s web site, www.nmcourt.fed.us to
download the standardized Joint Status Report and Provisional Discovery Plan form.
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           Initial disclosures under FED. R. CIV. P. 26(a)(1) shall be made within fourteen (14) days

of the meet-and-confer session.

           A Rule 16 scheduling conference will be conducted by telephone on Wednesday, April

18, 2019, at 2:00 p.m. 2 Counsel shall call the following telephone number to be connected to

the conference: (888) 278-0296 (access code: 9998216).

           At the Rule 16 scheduling conference, counsel will be prepared to discuss discovery needs

and scheduling, all claims and defenses, the use of scientific evidence and whether a Daubert 3

hearing is needed, initial disclosures, and the time of expert disclosures and reports under FED. R.

CIV. P. 26(a)(2). We will also discuss settlement prospects and alternative dispute resolution

possibilities and consideration of consent pursuant to 28 U.S.C. § 636(c). Client attendance is not

required. If service on all parties is not complete, plaintiff(s) appearing through counsel or pro se,

is (are) responsible for notifying all parties of the content of this order.

           Pre-trial practice in this cause shall be in accordance with the foregoing.




                                             ________________________________________
                                             UNITED STATES MAGISTRATE JUDGE




2
  If you wish to appear in person, please advise my chambers at least 48 hours prior to the scheduling conference. If
appearing in person, please appear in my chambers, Suite 620, Pete V. Domenici United States Courthouse, 333
Lomas Blvd., Albuquerque, New Mexico.
3
    Daubert v. Merrell Dow Pharmaceuticals, 509 U. S. 579 (1993).
